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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Northern District
                                                     __________ DistrictofofNew York
                                                                             __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 5:23-MJ-433 (ML)
  (1) BLACK, LG MOBILE PHONE AND (2) WHITE                                   )
    APPLE IPHONE WITH A RED CASE, IN THE                                     )
 CUSTODY OF ATF, LOCATED AT 100 S. CLINTON                                   )
              ST., SYRACUSE, NY
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  (1) BLACK, LG MOBILE PHONE AND (2) WHITE APPLE IPHONE WITH A RED CASE, IN THE CUSTODY OF ATF,
  LOCATED AT 100 S. CLINTON ST., SYRACUSE, NY, DESCRIBED FURTHER IN ATTACHMENTS A-1 AND A-2
located in the     Northern      District of       New York        , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ’
               ’ contraband, fruits of crime, or other items illegally possessed;
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 922(g)                        Possession of firearm by felon
        21 U.S.C. § 841(a)                        Possession with intent to distribute narcotics
        18 U.S.C. § 933                           Firearm trafficking
        18 U.S.C. § 922(a)(5)                     Transfer firearm to out-of-state resident
          The application is based on these facts:
        See attached affidavit.


           ’ Continued on the attached sheet.
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                            Richard R. Gardinier, Special Agent (ATF)
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            08/04/2023
                                                                                                         Judge’s signature

City and state: Binghamton, NY                                                          Hon. Miroslav Lovric, U.S. Magistrate Judge
                                                                                                       Printed name and title
         Print                        Save As...                         Attach                                                        Reset
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH A
 BLACK, LG MOBILE PHONE AND A
 WHITE APPLE IPHONE WITH A RED                    Case No.
 CASE, IN THE CUSTODY OF THE
 SYRACUSE ATF, LOCATED AT 100 S.                  Filed Under Seal
 CLINTON STREET, SYRACUSE, NEW
 YORK


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Richard Gardinier, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since January 2, 2017. My office is located in Syracuse, New

York. I attended the Federal Law Enforcement Training Center (FLETC), located in Glynco,

Georgia, where I was enrolled in and successfully completed both Criminal Investigator Training

Program (CITP) and Special Agent Basic Training (SABT). During the course of my training, I

received instruction on physical surveillance, interviewing sources of information and defendants,

reviewing telephone and financial records, applying for and serving search warrants, firearms

trafficking, etc. Prior to my time with ATF, I was employed by the United States Secret Service,

Uniformed Division (USSS/UD) for four years. I was enrolled in and successfully completed the

Uniformed Police Training Program (UPTP) at FLETC, as well as New Officer Training with the

USSS/UD, located in Beltsville, Maryland.

       2.       I am an investigative, or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510 (7), that is, an officer of the United States
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who is empowered by law to conduct investigations of and make arrests for the offenses

enumerated in Title 18, 21 and 26, United States Code. As an ATF Special Agent, I am authorized

to seek and execute federal arrest and search warrants for Title 18 criminal offenses, and Title 26

offenses, related to the unlawful possession and/or transfer of firearms.

       3.      I make this affidavit in support of an application for a search warrant for the

following devices (collectively, the “Subject Devices”):

            a. One black LG mobile device, seized during a traffic stop by the Syracuse Police

               Department (SPD) (Subject Device 1, described further in Attachment A-1).

            b. One white Apple iPhone with red case, seized during a traffic stop by the Syracuse

               Police Department (SPD) (Subject Device 2, described further in Attachment A-2).

       4.      The devices are currently in the custody of the Bureau of Alcohol, Tobacco,

Firearms and Explosives, Syracuse Field Office, located at 100 S. Clinton Street, room 509,

Syracuse, New York. Located within the Subject Devices, I seek to seize evidence of criminal

violations, as more particularly described in Attachment B.

       5.      The statements contained in this affidavit are based on my personal observations,

my training and experience, my review of law enforcement reports, and information provided to

me by other law enforcement officers involved in this investigation. Because this affidavit is being

submitted for the limited purpose of seeking search warrants, I have not included each and every

fact known to me concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that evidence may be found on the Subject Devices

of violations violating Title 18, United States Code, Section 922(g)(1) (possession of a firearm by

a previously convicted felon); Title 21, United States Code, Section 841(a)(1) (possession and/or

distribution of controlled substances); Title 18, United States Code, Section 922(a)(5) (Transfer of


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a firearm to an out-of-state resident); and Title 18, United States Code, Section 933 (trafficking in

firearms) (collectively, “the Subject Offenses”). There is also probable cause to search the property

described in Attachments A-1 and A-2 for evidence of these crimes, as described in Attachment B.

                         FACTS SUPPORTING PROBABLE CAUSE

       A.      Recovery of Firearms and Ammunition During Traffic Stop (July 25, 2023)

       6.      On July 25, 2023, while on routine patrol in a marked Syracuse Police Department

(“SPD”) vehicle, SPD officers observed a grey Ford Flex bearing New York State registration

KWV5178 (“Subject Vehicle”) traveling on North Salina Street in Syracuse, New York. SPD

Officers noted the vehicle had dark tinted windows and a dark license plate cover, in violation of

New York State Vehicle and Traffic Law. SPD officers conducted a traffic stop of the Subject

Vehicle in the 1100 block of North Salina Street, Syracuse, New York.

       7.      Upon approaching the vehicle, officers contacted Willie Carter (driver), Jermel

Moore (right rear passenger) and Delmetri Turner (front passenger) inside the Subject Vehicle.

While speaking to Moore at the window of the Subject Vehicle, officers observed what appeared

to be a high-capacity ammunition magazine containing ammunition inside his waistband. Officers

then removed Moore, Turner, and Carter from the vehicle and began an investigation.

       8.      Moore, Turner, and Carter each reside in Syracuse, New York.

       9.      After removing Moore from the Subject Vehicle, officers removed the magazine

from Moore’s pocket and placed it on the roof of the Subject Vehicle. The magazine was found to

be loaded with rounds of .22 caliber ammunition.

       10.     Officers recovered the following items, among other things, during the traffic stop:

               a.      Approximately 3.8 grams of a beige chunky substance which field tested

                       positive for cocaine from Moore’s underwear area;


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              b.      $3,490.00 in US currency banded with a rubber band, located on Moore’s

                      person;

              c.      A Ruger, model 10/22, .22 caliber rifle bearing serial number 124-11147,

                      located in front of the back seat directly in front of where Moore was sitting;

              d.      In the rear seat area of the Subject Vehicle, a black bag containing a black

                      plastic container, inside of which were 4 empty pistol magazines, 2 boxes

                      of 9mm ammunition, a Smith and Wesson, model SD9VE, 9mm caliber

                      pistol bearing FBF6715 with empty magazine, a Beretta, 9mm caliber pistol

                      bearing serial number A148035X with empty magazine, 2 pistol grips, gun-

                      cleaning supplies, a gun lock, and a magazine loader;

              e.      In the rear seat area, a red backpack which contained a Glock, model 43,

                      9mm caliber pistol bearing serial number AHLR763, a body armor vest,

                      two .22 caliber extended magazines, and a lockbox containing 1 clear

                      knotted plastic baggie containing a tan chunky substance and one containing

                      a white chunky substance, a black mobile device (Subject Device 1) and

                      white Apple iPhone with red case (Subject Device 2).

       11.    A firearms trace of the aforementioned firearms was conducted. The firearms trace

summary indicated that the Glock, Beretta, and Smith & Wesson firearms were purchased earlier

that same day (July 25, 2023) in Steubenville, Ohio by Timothy Grimes. ATF agents spoke with

Grimes on August 1, 2023. During the conversation, Grimes incorrectly recalled the make of the

firearms he purchased and similarly did not know the model or caliber of the pistols he purchased

on July 25. Further, Grimes stated that he had possession of the firearms until approximately 9pm

the day of purchase. Grimes later reported the firearms stolen to the Steubenville Police


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Department on or about July 26, 2023 at approximately 5pm. Based on my training and experience,

and the facts described above, including the extremely brief period the firearms were in the initial

purchaser’s possession, their subsequent location in a vehicle with previously convicted persons,

and the purchaser’s lack of knowledge of the firearms that he himself purchased, I believe that

Grimes was a straw purchaser of firearms, and that he purchased the firearms on behalf of others,

rather than himself.

       12.     I have examined the descriptions of the firearms, as well as the traces as described

above. Based on that examination, and my training and experience, including specific training in

determining the origin of firearms, I have determined that each was manufactured outside the state

of New York.

       13.     Based on my training and experience, the training and experience of other law

enforcement agents, and my knowledge of the investigation, including the substantial amounts of

cash in the Subject Vehicle, and the quantity and packaging of the controlled substances found

during the traffic stop, I believe that the controlled substances were intended for distribution to

others, rather than for personal use.

       B.      Criminal Histories of Subject Vehicle Occupants

       14.     A review of Carter’s criminal history revealed 4 previous felony convictions:

               a.      On or about April 22, 2014, Carter was sentenced in Onondaga County

                       Court to 3 years’ imprisonment as a result of his conviction for attempted

                       burglary 2nd degree, a felony.

               b.      On or about April 22, 2014, Carter was sentenced in Onondaga County

                       Court to 4 years’ imprisonment as a result of his conviction for criminal

                       possession of a controlled substance in the 3rd degree (narcotic drug intent

                       to sell), a felony.
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               c.     On or about January 16, 2007, Carter was sentenced in Onondaga County

                      Court to 42 months’ imprisonment as a result of his conviction for attempted

                      criminal possession of a controlled substance in the 3rd degree (narcotic drug

                      intent to sell)

               d.     On or about January 13, 2004, Carter was sentenced in Onondaga County

                      Court to 1 year imprisonment in Onondaga County Court as a result of his

                      conviction for criminal possession of a controlled substance in the 3rd degree

                      (narcotic drug intent to sell).

        15.    A review of Moore’s criminal history revealed 1 previous felony conviction. On or

about May 9, 2011, Moore was sentenced in Onondaga County Court to 5 years’ imprisonment as

a result of his conviction for Criminal Possession of a Weapon in the 2nd Degree (loaded firearm),

a felony. Moore was convicted in Onondaga County, Northern District, New York on May 09,

2011.

        16.    A review of Turner’s criminal history revealed 4 previous felony convictions:

               a.     On or about December 20, 2004, Turner was sentenced in Onondaga County

                      Court to 6 to 12 years’ imprisonment as a result of his conviction for

                      criminal sale controlled substance in the 3rd degree, a felony.

               b.     On or about December 20, 2004, Turner was sentenced in Onondaga County

                      Court to 6 to 12 years’ imprisonment as a result of another conviction for

                      criminal sale controlled substance in the 3rd degree, a felony. This sentence

                      was ordered to run concurrent to the sentence in the previous paragraph.

               c.     On or about February 24, 1998, Turner was sentenced in Onondaga County

                      Court to 27 to 54 months’ imprisonment as a result of his conviction for


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                        burglary in the 2nd degree, a felony.

                d.      On or about June 28, 1996, Turner was sentenced in Onondaga County

                        Court to 1 year imprisonment as a result of his conviction of attempted

                        robbery in the 3rd degree, a felony.

        17.     The Subject Devices were seized by the SPD and placed into evidence. On

August 1, 2023, Subject Device 1 and Subject Device 2 were transferred to SA Gardinier, where

they were placed into evidence at the ATF Syracuse Field Office, located at 100 South Clinton

Street, room 509, Syracuse, New York.

        C.      The Subject Devices

        18.     Based on the facts discussed above, including the facts that another individual,

Grimes, purchased the firearms in Ohio earlier the same day that they were found in the Subject

Vehicle in New York in the possession of Carter, Moore and Turner, the packaging of the

controlled substances found, the presence of substantial amounts of cash in the Subject Vehicle,

and based on my training and experience described further below, I believe there is probable cause

a search of the Subject Devices will reveal additional evidence relating to the Subject Offenses.

        19.     I know, based upon my training and experience, that individuals involved in

narcotics-distribution and firearms-trafficking offenses often use their cellular telephones and

other electronic devices to facilitate and discuss their activities with others involved in the offenses.

From my training, experience, and discussions with other experienced investigators, I know it is

common for individuals plotting a crime, such as illegal possession and distribution of both

firearms and narcotics, to use their phones and electronic devices both to communicate with other

individuals participating in the offense, locate targets or implements of the planned crime, and to

maintain records related to their activities, including but not limited to, the following:


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               a.      Co-conspirator contact information and communications.

               b.      Records of travel relating to their activities.

               c.      Records related to the receipt, transfer, deposit and expenditure of income

                       and other proceeds from the planned crimes, such as a sale of firearms

                       and/or narcotics.

               d.      Contact with potential purchasers (including straw purchasers of firearms)

                       of firearms and/or narcotics.

               e.      Photographs of narcotics, firearms, and cash proceeds.

       20.     Based on my training, experience, and research, I know that the Subject Devices

have capabilities that allow them to serve as wireless telephones, digital cameras, portable media

players, GPS navigation devices, and PDAs. In my training and experience, examining data stored

on devices of this type can uncover, among other things, evidence which reveals or suggests who

possessed or used a device and uses to which it has been put. For example, the Subject Devices

are likely to contain location information which could indicate whether the Subject Devices were

in the area where the firearms were purchased in Steubenville, Ohio, and could provide information

about locations associated with co-conspirators, and where the firearms were transferred.

       21.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the devices. This information can

sometimes be recovered with forensics tools.

       22.     There is probable cause to believe the things which were once stored on the Subject

Devices may still be stored there, for at least the following reasons:




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    a.   Based on my knowledge, training, and experience, I know that computer

         files or remnants of such files can be recovered months or even years after

         they have been downloaded onto a storage medium, deleted, or viewed via

         the Internet. Electronic files downloaded to a storage medium can be stored

         for years at little or no cost. Even when files have been deleted, they can be

         recovered months or years later using forensic tools. This is so because

         when a person “deletes” a file on a computer, the data contained in the file

         does not actually disappear; rather, that data remains on the storage medium

         until it is overwritten by new data.

    b.   Therefore, deleted files, or remnants of deleted files, may reside in free

         space or slack space—that is, in space on the storage medium that is not

         currently being used by an active file—for long periods of time before they

         are overwritten. In addition, a computer’s operating system may also keep

         a record of deleted data in a “swap” or “recovery” file.

    c.   Wholly apart from user-generated files, computer storage media—in

         particular, computers’ internal hard drives—contain electronic evidence of

         how a computer has been used, what it has been used for, and who has used

         it. To give a few examples, this forensic evidence can take the form of

         operating system configurations, artifacts from operating system or

         application operation, file system data structures, and virtual memory

         “swap” or paging files. Computer users typically do not erase or delete this

         evidence, because special software is typically required for that task.

         However, it is technically possible to delete this information.


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              d.      Similarly, files which have been viewed via the Internet are sometimes

                      automatically downloaded into a temporary Internet directory or “cache.”

       23.    As further described in Attachment B, this application seeks permission to locate

not only electronically stored information that might serve as direct evidence of the crimes

described on the warrant, but also forensic evidence that establishes how the Subject Devices was

used, the purpose of their use, who used them, and when. There is probable cause to believe this

forensic electronic evidence might be on the Subject Devices because:

              a.      Data on the storage medium can provide evidence of a file that was once on

                      the storage medium but has since been deleted or edited, or of a deleted

                      portion of a file (such as a paragraph that has been deleted from a word

                      processing file). Virtual memory paging systems can leave traces of

                      information on the storage medium that show what tasks and processes were

                      recently active. Web browsers, e-mail programs, and chat programs store

                      configuration information on the storage medium that can reveal

                      information such as online nicknames and passwords. Operating systems

                      can record additional information, such as the attachment of peripherals, the

                      attachment of USB flash storage devices or other external storage media,

                      and the times the computer was in use. Computer file systems can record

                      information about the dates files were created and the sequence in which

                      they were created.

              b.      Forensic evidence on a device can also indicate who has used or controlled

                      the device. This “user attribution” evidence is analogous to the search for

                      “indicia of occupancy” while executing a search warrant at a residence.


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              c.      A person with appropriate familiarity with how an electronic device works

                      may, after examining this forensic evidence in its proper context, be able to

                      draw conclusions about how electronic devices were used, the purpose of

                      their use, who used them, and when.

              d.      The process of identifying the exact electronically stored information on a

                      storage medium that are necessary to draw an accurate conclusion is a

                      dynamic process. Electronic evidence is not always data that can be merely

                      reviewed by a review team and passed along to investigators. Whether data

                      stored on a computer is evidence may depend on other information stored

                      on the computer and the application of knowledge about how a computer

                      behaves. Therefore, contextual information necessary to understand other

                      evidence also falls within the scope of the warrant.

              e.      Further, in finding evidence of how a device was used, the purpose of its

                      use, who used it, and when, sometimes it is necessary to establish that a

                      particular thing is not present on a storage medium.

                               NATURE OF EXAMINATION

       24.    Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

applying for would permit the examination of Subject Device 1 and Subject Device 2, consistent

with the warrant. The examination may require authorities to employ techniques, including but not

limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection to determine whether there is evidence described by the warrant.

       25.    Because the Subject Devices are already in law-enforcement custody, I request

authorization to conduct a search of the Subject Devices at any time of day or night. An


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examination at any time of day or night would pose no greater burden or inconvenience to the

users of the Subject Devices.

                                          CONCLUSION

       26.      I submit that this affidavit supports probable cause for a search warrant authorizing

the examination of the property described in Attachment A to seek the items described in

Attachment B.

ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH RULE 4.1 OF THE
FEDERAL RULES OF CRIMINAL PROCEDURE


                                                _____________________________
                                                Richard R. Gardinier
                                                ATF Special Agent


I, the Hon. Miroslav Lovric, United States Magistrate Judge, hereby acknowledge that this
                                                              4 2023, in accordance with Rule
affidavit was attested by the affiant by telephone on August ___,
4.1 of the Federal Rules of Criminal Procedure.


_____________________________
Hon. Miroslav Lovric
United States Magistrate Judge




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                                    ATTACHMENT A-1

                                  Property to Be Searched

       One black LG mobile device pictured below, which is currently housed at the offices of

the Bureau of Alcohol, Tobacco, Firearms and Explosives Syracuse Field Office, located at 100

S. Clinton Street, room 509, Syracuse, New York.
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                                     ATTACHMENT A-2

                                   Property to Be Searched

One white Apple iPhone with a red case, pictured below, which is currently housed at the offices

of the Bureau of Alcohol, Tobacco, Firearms and Explosives Syracuse Field Office, located at

100 S. Clinton Street, room 509, Syracuse, New York.
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                                        ATTACHMENT B

                                        Items To Be Seized


       1.       Information that constitutes evidence of violations of Title 18, United States Code,

Section 922(g)(1) (possession of a firearm to a previously convicted felon); Title 21, United States

Code, Section 841(a)(1) (possession and/or distribution of controlled substances); Title 18, United

States Code, Section 922(a)(5) (Transfer of a firearm to an out of state resident); and Title 18,

United States Code, Section 933 (trafficking in firearms):

                a.     Text messages, instant messages, chat room messages, emails, voice mail

                       messages, and/or other communications relating to any purchase or transfer

                       of firearms or controlled substances;

                b.     Records regarding any calls made or received;

                c.     Contact lists;

                d.     Any photographs or audio recordings that relate to the purchase and/or

                       transfer of either firearms or controlled substances;

                e.     Geolocation, mapping, GPS records, and metadata containing information

                       related to the location history of the Subject Devices;

                f.     Records of, or information about, any Internet activity including firewall

                       logs, caches, browser history and cookies, “bookmarked” or “favorite” web

                       pages, search terms that the user entered into any Internet search engine,

                       and records of user-typed web addresses; and

                g.     Information related to the receipt or transfer of money.

       2.       Evidence of user attribution showing who used or owned the Subject Devices at the

time the things described in this affidavit were created, edited or deleted, such as logs, phonebooks,
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saved usernames and passwords, documents and browsing history to include internet activity,

firewall logs, cashes, browser history and cookies, “bookmarked” or “favorite” web pages, search

terms that the user entered into any Internet search engine, and records of user-type web addresses.

       3.       As used above, the terms “records” and “information” include all of the foregoing

items of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




                                                2
